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                  United States Court of Appeals
                               For the First Circuit


      No. 22-1924

                                   PHILLIP AYALA,

                               Petitioner, Appellee,

                                           v.

                    NELSON ALVES, Superintendent, MCI-Norfolk,

                               Respondent, Appellant.


                   APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                 [Hon. Mark G. Mastroianni, U.S. District Judge]


                                        Before

                  Montecalvo, Selya, and Lynch, Circuit Judges.


           Gabriel Thornton, Assistant Attorney General, Criminal
      Bureau, with whom Andrea Joy Campbell, Attorney General, was on
      brief, for appellant.
           Janet Heatherwick Pumphrey for appellee.


                                  October 25, 2023
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                   LYNCH,   Circuit    Judge.       Under    the   Antiterrorism       and

      Effective Death Penalty Act of 1996 ("AEDPA"), Pub. L. No. 104-

      132, 110 Stat. 1214 (codified as amended in scattered sections of

      the U.S. Code), and Supreme Court precedent, federal habeas courts

      must give deference to a state court's findings of fact and

      application of law. White v. Woodall, 572 U.S. 415, 419-20 (2014).

      In   addition,    when   a   habeas    petitioner       asserts      a   claim   of

      ineffective assistance of counsel, federal habeas corpus review

      must be doubly deferential.            Burt v. Titlow, 571 U.S. 12, 15

      (2013).

                   Petitioner Phillip Ayala was convicted, in 2007 after a

      jury trial, of first-degree murder, unlawful possession of a

      firearm, and unlawful possession of ammunition.                 His conviction

      and the denial by the trial court of his motion for a new trial

      were affirmed by the Massachusetts Supreme Judicial Court ("SJC")

      in   a    carefully   reasoned,    unanimous,         nineteen-page      decision.

      Commonwealth v. Ayala ("Ayala"), 112 N.E.3d 239, 241-42 (Mass.

      2018).

                   A   Massachusetts    federal      district      court    nonetheless

      granted Ayala's petition for a federal writ of habeas corpus on

      his argument that his state court trial counsel was ineffective.

      See Ayala v. Medeiros ("Medeiros"), 638 F. Supp. 3d 38, 46 (D.

      Mass. 2022).     Arguing on appeal that the grant of Ayala's petition

      was improper, the Commonwealth of Massachusetts seeks to vacate


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      that order.      We vacate, as the district court erred in applying

      the AEDPA standard.      Under that standard Ayala's petition must be

      denied.1

      I.    Facts

            A.   The Underlying Crimes of First-Degree Murder, Unlawful
            Possession of a Firearm, and Unlawful Possession of
            Ammunition

                   On this habeas review of an ineffective assistance of

      counsel claim, "[w]e take the facts largely as recounted by the

      [SJC] decision affirming [Ayala's] conviction, 'supplemented with

      other record facts consistent with the SJC's findings.'"              Field v.

      Hallett, 37 F.4th 8, 12 (1st Cir. 2022) (second alteration in

      original) (quoting Yeboah-Sefah v. Ficco, 556 F.3d 53, 62 (1st

      Cir. 2009)).     The SJC found the facts as follows:

                   In the early morning of June 10, 2007, Robert
                   Perez and his friend, Clive Ramkissoon,
                   attended a house party held on the second
                   floor of a house in Springfield.          Upon
                   arriving just before 2 A.M., Perez and
                   Ramkissoon encountered a bouncer on the first
                   floor at the bottom of the stairwell that led
                   to the second floor. The first-floor bouncer
                   was posted there to search guests before
                   letting them upstairs to the party.     After
                   being searched, the two men went upstairs to
                   the party. As there were not yet many people
                   at the party, Perez returned to the first
                   floor and began speaking with the first-floor
                   bouncer in the entryway of the stairwell.

                   Shortly thereafter, as Perez was speaking with
                   the first-floor bouncer, the defendant arrived

            1   We do not consider Ayala's other arguments, which are
      not before us on appeal.


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                  at the party. As she had done with Perez and
                  Ramkissoon, the bouncer attempted to pat frisk
                  the defendant before allowing him to enter.
                  The defendant refused. After a brief argument
                  related   to   the   search,   the   defendant
                  aggressively pushed past the bouncer and
                  climbed the stairs to the second floor.      A
                  second bouncer intercepted the defendant on
                  the stairs and prevented him from entering the
                  party without having first been pat frisked.
                  The defendant argued with the bouncer and,
                  after yelling and screaming at him, was
                  escorted out of the house. As the defendant
                  was descending the staircase to leave, and
                  just steps away from Perez, the defendant
                  threatened to "come back" and "light the place
                  up." [FN 2] After leaving the house briefly,
                  the defendant returned and kicked in the
                  first-floor door. [FN 3]

                        [FN 2] At trial, a witness who had
                        attended the party testified that the
                        defendant was upset because he felt that
                        hosting a party at the house was
                        disrespectful to his niece, who had
                        recently   been  killed   at  a   nearby
                        location.

                        [FN 3] The door was kicked in with such
                        force that police were later able to take
                        a footprint impression from the door and
                        confirm that it matched the defendant's
                        shoe.

                  Throughout this interaction inside the house,
                  Perez had an opportunity to observe the
                  defendant closely for several minutes. [FN 4]
                  Concerned by the defendant's threats and
                  behavior, Perez returned upstairs to find
                  Ramkissoon.    The two men walked onto the
                  second-floor porch to "assess the situation"
                  and saw the defendant pacing back and forth on
                  the street in front of the house. Rather than
                  leave with the defendant still outside, given
                  his recent threat to "light the place up,"
                  Perez and Ramkissoon decided to wait on the
                  porch for a few minutes. After the defendant



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                  moved out of sight, Perez, Ramkissoon, and a
                  female friend decided to leave the party.

                        [FN 4] Robert Perez's account of the
                        defendant's actions was substantially
                        corroborated at trial by the testimony of
                        the first-floor bouncer.

                  After leaving the house, Ramkissoon and the
                  woman began walking across the road, while
                  Perez, who had stopped to tie his shoe,
                  trailed slightly behind.       As they were
                  crossing the road, the woman stopped in the
                  middle of the road directly in front of the
                  house and began dancing. Perez walked over to
                  where the woman was dancing while Ramkissoon
                  kept moving down the road, to the left of the
                  house, toward the area where his vehicle was
                  parked.    As Perez approached the woman to
                  guide her out of the way of oncoming traffic,
                  he heard a gunshot and saw a muzzle flash
                  appear near a street light located on the
                  sidewalk in front of a property adjacent to
                  the house. [FN 5] Perez saw the defendant
                  holding a firearm and testified that he was
                  able to identify the shooter as the defendant
                  because the muzzle flash from the gun
                  illuminated the shooter's face.       He then
                  turned and ran away from the shooting as
                  several more gunshots rang out.     Perez, who
                  had previously served in the United States
                  Army, testified that he heard between five and
                  seven shots, which he recognized as .22
                  caliber   bullets   based  on   his   military
                  experience.

                        [FN 5] Perez testified that he saw the
                        muzzle flash came from "the sidewalk area
                        under the light," but later noted that he
                        could not be certain whether the street
                        light was on at the time of the shooting.

                  Perez soon circled back to where Ramkissoon's
                  vehicle was parked and discovered Ramkissoon
                  face down on the street.     Perez performed
                  rescue breathing on Ramkissoon and telephoned
                  the police.   Police officers arrived at the
                  scene by approximately 3 A.M.    It was later


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                   determined that Ramkissoon died from multiple
                   gunshot wounds. [FN 6] Perez was soon brought
                   to the Springfield police station, where he
                   gave a statement recounting the events of that
                   morning. At the station, Perez identified the
                   defendant from a set of photographs shown to
                   him by police, stating that he recognized the
                   defendant's photograph as the "same person who
                   he had seen in the stairwell not wanting to be
                   pat frisked by the bouncer there, and then
                   firing the gun outside in the street at the
                   victim."

                         [FN 6] The police recovered five spent
                         shell casings from the scene of the
                         shooting.     The medical examiner also
                         recovered two spent projectiles from
                         Ramkissoon's body.    At trial, a police
                         officer   with    special  knowledge   of
                         ballistics testified that he performed a
                         microscopic examination of the shell
                         casings and the spent projectiles. Based
                         on the examination, he concluded that all
                         five casings came from a .22 caliber gun.
                         He    further    concluded   that    both
                         projectiles extracted from Ramkissoon's
                         body came from the same weapon.       The
                         police never located the gun that was
                         used to kill Ramkissoon.

      Ayala, 112 N.E.3d at 242-43 (cleaned up).

            B.     Ayala's State Criminal Trial

                   In   January    2008    as    part   of     discovery     from    the

      Commonwealth      in   his   criminal     prosecution,    counsel      for    Ayala

      received a copy of a letter from the Northampton VA Medical Center

      which stated that Perez, the Commonwealth's lead witness, "ha[d]

      been in treatment for Post Traumatic Stress Disorder ["PTSD"] at

      th[at] VA Medical Center since 4/14/2000 . . . with Dr. Kenneth

      Lenchitz, PhD., . . . Nina A. Pinger, APRN, BC, CNS, and Lillian



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      R. Struckus, MSW, LICSW . . . ."              A list was attached of all of

      Perez's appointments at the VA Medical Center from April 14, 2000,

      to January 18, 2008, which defense counsel described as totaling

      161 appointments.2

                  At   trial    two   key    eyewitnesses        testified:     Natasha

      Frazier, the D.J. at the party who said Ayala could not have been

      the shooter, and Perez, who identified Ayala as the shooter.                   The

      defense called Frazier as its eyewitness.              As the judge who heard

      Ayala's 2014 motion for a new trial later found, the defense

      counsel's "primary trial strategy" was to secure and support

      Frazier's testimony that Ayala was not in the area when the

      shooting occurred.       As stated by the SJC:

                  Shortly before the trial was originally
                  scheduled to begin in July 2008, the
                  Commonwealth informed defense counsel that it
                  had recently learned that a witness likely to
                  be called by the defense, [Frazier], was a
                  confidential informant for a Federal gang task
                  force operating in Springfield. As a result
                  of this new information, the trial was
                  continued several times until over one year
                  later in August 2009.

                  The Commonwealth's disclosure resulted in
                  multiple motions by the defendant to obtain
                  Federal records detailing [Frazier]'s status
                  as   a   confidential   informant  (informant
                  records) and to compel the testimony of
                  Federal agents regarding the same through
                  State court proceedings. The defendant argued

            2   As noted by the SJC, at trial Perez admitted that this
      document established that he had "161 appointments with mental
      health experts at the Veterans Administration." Ayala, 112 N.E.3d
      at 255.


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                  that the information was material to his
                  defense   because    it   was    necessary   to
                  demonstrate [Frazier]'s credibility as a
                  witness, which the defendant contended was
                  exculpatory information.     At various times,
                  the defendant was informed that a successful
                  pursuit of this information would require that
                  he comply with the procedure set forth by
                  Federal regulations. The federally mandated
                  procedure required the defendant to submit a
                  written request for information describing the
                  informant records and the subject matter of
                  the testimony sought.      Federal authorities
                  would then review the sought-after information
                  for privilege, confidentiality, and the
                  likelihood    that    its   disclosure    would
                  compromise ongoing investigations. After this
                  review, the Federal authorities would report
                  back to the defendant and either disclose the
                  requested information or explain why it was
                  continuing to be withheld. Despite being made
                  aware of the Federal procedure, the defendant
                  refused    to   comply    and   continued    to
                  unsuccessfully request that the trial court
                  judge compel Federal authorities to disclose
                  this information.

                  During the time period of the continuance, and
                  while engaging in the pursuit of the federally
                  held   information,   the   defense  had   the
                  opportunity to depose [Frazier]. At her
                  deposition, [Frazier] testified to her status
                  as a confidential informant for the Federal
                  Bureau of Investigation (FBI), including the
                  nature of her work and compensation. She also
                  testified to her observations on the morning
                  of   the   shooting,   which   supported   the
                  defendant's theory that he was not present at
                  the scene at the time of the shooting.
                  Specifically, [Frazier] testified that she
                  witnessed the defendant driving away from the
                  scene before the shooting took place, and
                  instead implicated another individual whom she
                  witnessed fleeing the scene. The deposition
                  also revealed that [Frazier] had telephoned a
                  Federal agent on or about the morning of the
                  shooting and described what had occurred.


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                  On the eve of trial, the defendant filed a
                  motion to dismiss the case based on the
                  Commonwealth's    failure    to    turn    over
                  [Frazier]'s informant records. The motion was
                  eventually denied. The defendant then sought
                  once again to compel the testimony of a member
                  of the Federal gang task force, but the
                  subpoena was quashed. Subpoenas for several
                  other   law   enforcement   officers   and   an
                  assistant   United    States   attorney    were
                  similarly quashed. After these subpoenas had
                  been quashed and the trial was set to begin,
                  at the suggestion of the trial judge, the
                  defendant finally submitted a request to
                  Federal authorities for the informant records
                  in compliance with the governing Federal
                  regulations described above.

      Id. at 246-48 (footnotes omitted).

                  On August 12, 2009, before trial began, defense counsel

      moved for a subpoena for all of Perez's treatment records beyond

      what he had received in January 2008 from the VA Medical Center.

      The order, which the court issued on August 13, 2009, mistakenly

      read:

                  It is hereby ordered that KEEPER OF THE
                  RECORDS at Veteran's Hospital, 421 North Main
                  Street, Leeds, MA, release to the SUPERIOR
                  COURT CLERK'S OFFICE, any and all medical
                  records regarding the treatment of Robert
                  Perez, treated on or about 2009. This order
                  does not include psychiatric, psychological,
                  or social worker records.

      (Emphasis added.)      The court corrected the error and issued a

      revised order on August 14, 2009, which read:

                  It is hereby ordered that KEEPER OF THE
                  RECORDS at Veteran's Hospital, 421 North Main
                  Street, Leeds, MA, release to the SUPERIOR
                  COURT CLERK'S OFFICE, any and all medical,



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                   psychiatric, psychological, or social worker
                   records regarding the treatment of Robert
                   Perez, treated on or about 2009.

                   Trial was scheduled to begin on the morning of August

       17, 2009.     That morning, defense counsel moved for a continuance

       because he had not yet received a response to his request for

       Frazier's confidential informant records.            As to Perez, defense

       counsel told the court he did not know "how [he was] supposed to

       open if [he] d[id]n't know what to say about the . . . percipient

       witness" and that "there's an issue of competence relative to this

       witness," a reference to Perez.         Both counsel then made a joint

       motion "to have [the court] order the records be sent overnight,"

       which the court allowed.         The court told the parties they would

       "have the records at the very latest tomorrow morning. . . .                You

       can review the records.     If an issue stares this Court in the face

       regarding mental competency right up to the time [Perez] is called

       to testify, then I'll take the appropriate steps."                    The court

       denied a continuance.

                   Trial began later that day, August 17, 2009, with the

       jury, judge, and parties first traveling to the site of the

       shooting for "a view of the subject premises" before opening

       statements. After that view the court dismissed the jury for lunch

       and told counsel that "there[] [was] a courier . . . in the process

       of returning from the [VA Medical Center] with the necessary

       documents."


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                   The prosecutor told the court she expected to call three

       witnesses that afternoon -- first, Sergeant David Martin of the

       Springfield Police Department; second, Dr. Joann Richmond, a state

       forensic pathologist; and third, Perez.         Defense counsel objected

       to Perez being called that day because he "ha[d]n't seen the

       records."    The court said it would end the day's proceedings after

       Dr. Richmond's testimony so the parties could review the records

       and the court could "have ready, if necessary, someone to conduct

       an examination" of Perez's competency.

                   The prosecutor then gave the Commonwealth's opening

       statement.    As part of that statement she told the jury that

                   Mr. Perez and Mr. Ramkissoon were on their way
                   to drop Mr. Perez off at his home in his
                   apartment in Springfield when they encountered
                   a young lady . . . who appeared to be going to
                   some type of a party.

                   . . . .

                   They gave her a ride [and] . . . parked on
                   Bristol Street. You all had the opportunity
                   to see Bristol Street where it[]s relationship
                   is to this house that you went in.

                   . . . .

                   They entered into the party. They were there
                   for a period of time.     Then I expect that
                   you'll hear at some point the defendant, Mr.
                   Ayala, arrived at the party, . . . and there
                   was an issue about his coming in or being
                   agreeable to come in.

                   As a result, he was asked to leave. You'll
                   then hear . . . that Mr. Ayala came back and
                   he kicked in that door.



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                  . . . .

                  Now, all around this time Mr. Perez is
                  deciding it's probably not a good idea for
                  them to stay at this party. They are getting
                  ready, they are leaving.     I believe the
                  testimony is going to be that Mr. Perez and
                  Mr. Ramkissoon and [the young woman] were
                  walking out of the party.

                  . . . .

                  I expect Mr. Perez will tell you that he heard
                  shots . . . and he looked. . . .      He stood
                  there in the middle of the road where the
                  double yellow line is. Then he saw a man with
                  a gun firing, and he ran and he looked at the
                  guy.

                  . . . .

                  Mr. Perez will tell you that when he looked up
                  and he saw the man with the gun, he looked at
                  him.   It was the same guy who caused the
                  commotion at the party. It was the same guy
                  who kicked in the door. It was the same guy.

                  . . . .

                  Now Mr. Perez, I'm sure you're going to hear,
                  as a result of military service to his country
                  suffers from posttraumatic stress. There are
                  issues that he's had. He was on probation.
                  He was violated.     He's been incarcerated.
                  You're going to hear a lot about him and his
                  tale of woe.

                  But what you're going to hear is that when he
                  turned to see the gunshots in the middle of
                  that road . . . it was the same guy that caused
                  the commotion at the party. The same guy that
                  was kick[ed] out. The same guy that kicked in
                  the door.

       The prosecutor did not mention Frazier or her testimony in the

       Commonwealth's opening statement.



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                  Defense counsel told the jury his opening statement was

       his "opportunity to tell you what the defense believes the evidence

       will be in this particular case."           Defense counsel described the

       expected testimony of Frazier, a

                  paid confidential informant . . . [who was at
                  the party to] report confidential information
                  of gang activities, on guns, and on drugs at
                  that particular location to her handlers.

                  . . . .

                  [Frazier] actually saw Mr. Ayala here, who she
                  knew, come in and . . . create a ruckus . . .
                  because of the fact that he felt he was being
                  disrespected, that he was known in the
                  community, that he had a very close relative
                  . . . [who] was shot at the location right at
                  the house next door . . . . As a result of
                  him being disrespected, he kicked in the door.

       Defense counsel stated that

                  [t]he evidence w[ould] establish that when the
                  shooting occurred, the confidential paid
                  federal informant was standing on the porch
                  that you visited today and that she saw what
                  took place downstairs where the shooting took
                  place . . . [and that] upon being debriefed of
                  the situation [by her handlers] said that she
                  knew that Mr. Ayala could not have done this
                  particular crime because she saw him leaving
                  and he was not in the area of where the crime
                  took place and he was not the shooter. And
                  that she saw a particular automobile . . .
                  that exited the area contemporaneously, or
                  right after, the shooting took place.

                  As   for    Perez,    defense      counsel     stated       that   the

       prosecution had

                  pointed out to you that Mr. Perez had service
                  in the armed services, that he suffers from
                  PTSD, and I believe the evidence will


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                  establish for you that he's presently residing
                  at [a VA Medical Center] in Northampton.

                  I believe the evidence will further establish
                  for you that at the time of this particular
                  incident when he gave the police a statement
                  relative to Mr. Ayala's participation in this
                  particular event, he had outstanding charges
                  pending against him relative to unarmed
                  robbery    and  that    eventually   he   was
                  incarcerated relative to violating the terms
                  of probation. That during the time that he
                  was incarcerated at the state facilities here
                  in Massachusetts, he wrote certain letters to
                  the office of the district attorney, and I
                  believe that the evidence will establish for
                  you   that   he  sought    to   have  certain
                  considerations relative to the testimony that
                  he intended to give in this particular case.

       Thus defense counsel established as a major theme that Perez, after

       being in the armed services, "suffers [present tense] from PTSD"

       and resided at the VA Medical Center in Northampton.

                  The prosecutor presented two witnesses on August 17,

       2009: Sergeant Martin, an officer who responded to the scene that

       morning, and Dr. Richmond, who testified that Ramkissoon died as

       a result of his gunshot wounds.        After Dr. Richmond's testimony,

       at sidebar, the court told counsel that the clerk had received

       Perez's records from the VA Medical Center and that counsel could

       review them in the clerk's office.          The court then adjourned at

       3:39 pm with plans to return the following day, August 18, 2009.

                  Defense counsel reviewed the 38-page set of records that

       arrived on August 17, 2009.      As it turned out, this 38-page set of

       records was an incomplete set of Perez's VA Medical Center records.



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       This 38-page set, which defense counsel received and reviewed,

       reinforced that as of July 30, 2009, Perez had been diagnosed with

       "Posttraumatic     Stress   Disorder";       "Bipolar   affective       disorder,

       manic, mild degree"; and "Generalized Anxiety Disorder", and that,

       as of that date, he was taking three medications to treat those

       conditions.     The 38-page set, however, did not include the notes

       taken during Perez's counseling sessions with the VA Medical

       Center.

                   On August 18, 2009, defense counsel filed motions for a

       competency evaluation of Perez and for payment authorization for

       the defense to retain a psychological expert, Dr. Ronald Ebert,

       both to consult on defense counsel's cross-examination of Perez

       and then to testify for the defense.               When trial resumed that

       morning,    defense   counsel's    motions      were    the   first     point   of

       discussion.     With respect to Perez's competency, defense counsel

       told the court that Dr. Ebert would testify that "a person that is

       manic obviously is wired high and if he's not on his medications,

       obviously [Dr. Ebert] doesn't believe [Perez] would be competent

       to testify."

                   The court ordered a competency evaluation of Perez by an

       independent psychologist and reserved judgment on the defense's

       motion for payment for an expert psychologist until after that

       evaluation.     The court specifically asked the doctor, Dr. Andrew




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       Bourke,3 to examine both "today whether [Perez] is competent to

       testify based on whatever treatment he . . . is receiving at [a VA

       Medical Center], but also what medication or treatment he may or

       may not have been receiving on June 10, 2007[.]"

                   Dr. Bourke conducted a competency evaluation of Perez

       that day.    Dr. Bourke also "review[ed] the . . . [38-page set of]

       records."     As   to   Perez's   competence    to   testify,     Dr.    Bourke

       concluded that Perez was "able to provide a recollection of the

       alleged incident that [was] very close to what [the doctor] was

       able to review . . . [from] previous testimony [Perez] had given."

       Dr. Bourke also concluded that Perez was "entirely alert and

       oriented," "demonstrated intact memory functioning," and "[t]here

       were no symptoms of major mental illness evident during [the

       doctor's] interview with [Perez]."           The doctor also "didn't see

       any evidence [that day] of symptoms of bipolar disorder . . . ."

       As to Perez's competence to perceive the shooter on June 10, 2007,

       Dr. Bourke testified that Perez "told [him] that at that time he

       was not on any medications . . . and he was feeling, prior to the

       incident, okay.    He was with friends and he wasn't suffering from

       symptoms of a mental illness at that time."              As the SJC noted,

       "[f]ollowing the examination, Perez was declared competent to

       testify."    Id. at 244 n.7.


            3    No party has raised any issue as to Dr. Bourke's
       impartiality or qualifications at any stage in these proceedings.


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                   Before the prosecution offered Perez's direct testimony,

       defense counsel repeated his request that Dr. Ebert at least have

       "an[] opportunity to advise [defense counsel] as to how [he] should

       conduct    [his]   cross-examination     [of    Perez]    relative       to   well-

       defined mental illness that is verified on the record."                    Defense

       counsel also described the testimony Dr. Ebert would offer if the

       court authorized payment, specifically "that anyone who suffered

       from a bipolar situation that was manic in its nature, that was

       not on medication, would be adversely affected in their ability to

       either perceive or encounter and recounter events that would

       occur."      In response, the court asked how "the psychiatrist,

       without being totally speculative, [was] going to be able to

       testify how [Perez] acted on that night when [the doctor] wasn't

       there?"    The court also stated,

                   I can understand why you're asking to [consult
                   an expert] so you might be able to cross-
                   examine, but I don't think it r[]ises to the
                   level of just bringing in an expert now and
                   testifying as to what he would opine regarding
                   how he conducted himself or what his
                   percipient qualities were on that particular
                   day if there's no foundation laid that he was
                   suffering from that disease on that day.

       The court reserved judgment on counsel's motion for payment for an

       expert    until    after   Perez's   direct    testimony,      but      ultimately

       granted    authorization    for   payment     related    to   consultation       on

       defense counsel's cross-examination of Perez.




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                  The prosecution presented Perez's direct testimony that

       afternoon, August 18, 2009.         The SJC's description of Perez's

       testimony is supported by the record.         Specifically with respect

       to his identification of Ayala as the shooter, Perez testified as

       follows:

                  Q. . . . [Y]ou looked towards where the shots
                  were coming from; correct?

                  A. Right.

                  Q. And could you see a firearm?

                  A. Yes.

                  Q. And could you see someone with a firearm?

                  A. Yes.

                  . . . .

                  Q. . . . So when you looked back, the shots
                  were coming from -- did you see the person
                  holding a gun?

                  A. Yes.

                  . . . .

                  Q. . . . Did you recognize the shooter?

                  A. Yes.

                  Q. Who did you recognize the shooter as?

                  A. Mr. Phillip Ayala, the person who came and
                  said he would light the party up.

                  The court    then dismissed the jury for the day               and

       addressed defense counsel's pending motion for funds for an expert

       psychologist. The court first stated that it "discerned from [its]

       observations and . . . hearing [of Perez's direct testimony] that


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       there was no[t] one scintilla of vagueness, lack of clarity,

       anything    incomprehensible     or   anything     other    than     detailed

       testimony . . . ."    For that reason the court told defense counsel

       it "w[ould] not be allowing an expert to testify in the v[e]in

       requested by the defense" unless "something countervailing and

       compelling in cross-examination emerge[d]."             (Emphasis added.)

       The court did, however, "allow the motion for funds for [defense

       counsel] . . . to consult [an expert psychologist] . . . prior to

       commencement of cross-examination [scheduled to take place the

       next day] . . . and for those purposes only."         Defense counsel did

       in fact consult with Dr. Ebert, who also had access to the 38-page

       set of records, to prepare his cross.

                  As to the cross-examination of Perez the next morning

       after defense counsel had consulted with his expert, the SJC found:

                  The reliability of Perez's identification was
                  vigorously challenged by defense counsel on
                  cross-examination.    The defense confronted
                  Perez on his ability to accurately identify
                  the shooter under the lighting conditions at
                  the time of the shooting, his recollection of
                  certain   events   that   morning,   and   the
                  discrepancies between Perez's statement to
                  police on the morning of the shooting and his
                  trial testimony regarding the defendant's
                  height and clothing.        Additionally, the
                  defense presented evidence showing that Perez
                  suffered    from    bipolar    disorder    and
                  posttraumatic stress disorder (PTSD), the
                  latter being a result of his military service.
                  Specifically, evidence showed that he sought
                  psychiatric counselling and used marijuana to
                  cope with the effects of his diagnoses. There
                  was no evidence, however, that Perez was


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                  either   suffering  the   effects  of   these
                  diagnoses or under the influence of marijuana
                  at the time of the shooting.

       Id. at 243-44 (footnotes omitted). Defense counsel drew admissions

       from Perez that he "went from unscheduled [as-needed counseling]

       appointments to [regularly] scheduled [counseling] appointments"

       after the shooting, "was hospitalized" for his mental health in

       the fall of 2007, "start[ed] taking . . . [prescription] drugs" to

       treat his mental health conditions "[a]fter October of 2007," was

       "diagnosed with borderline personality disorder and also bipolar

       disorder, mild manic after 2007," and "had a counseling session on

       June 11th" of 2007, the day after the shooting.            Perez stated the

       effect of his PTSD on him "was minimal.         It's just basically . . .

       remembering a bad time, a bad dream, a bad situation . . . ."

       Perez stated that his "appointments weren't necessarily all based

       on PTSD" and that he also "went through a divorce" between 2000

       and 2008 which caused him emotional distress for which he also

       sought counseling.

                  The prosecution then offered the testimony of four more

       witnesses:    Detective    Lieutenant       Kenneth   F.    Martin    of   the

       Massachusetts State Police who specialized in footwear impression

       analysis   and   identification;    Equilla     Haines,    the    first-floor

       bouncer the night of the shooting; Sergeant Mark Rolland of the

       Springfield Police Department, who had responded to the scene of

       the shooting that morning; and Sergeant John Crane, a ballistician


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       with the Massachusetts State Police who analyzed the shell casings

       and projectiles recovered from the shooting.

                   The prosecution rested after Sergeant Crane's testimony.

       Defense counsel then moved for a directed verdict because "the

       defendant was never identified" in court, which motion the court

       denied.

                   The defense called its witness, Natasha Frazier.               The

       SJC found and the record supports that

                   the defense called a sole witness, [Natasha
                   Frazier], who was the disc jockey at the
                   party. [Frazier] testified that she knew the
                   defendant and looked up to him, and had seen
                   him multiple times that morning.    [Frazier]
                   also testified that at one point, she was on
                   the second-floor porch and saw the defendant
                   emotional and upset outside after he had been
                   kicked out of the house.      She and others
                   attempted to comfort the defendant and
                   suggested that he go home. She testified to
                   then witnessing the defendant leave the party
                   and drive away.   [Frazier] was adamant that
                   the defendant left approximately thirty to
                   forty-five minutes before the shooting,
                   stating that he was "gone a long time before
                   the shooting even went down." In response to
                   further questioning on her certainty that the
                   defendant was not at the scene at the time of
                   the shooting, she testified, "He was not
                   there. Put my kids on it." Although she did
                   not witness the shooting, she testified that
                   she observed a red Taurus motor vehicle
                   "skidding off" from the scene immediately
                   after the shooting.




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       Id. at 244 (footnote omitted).       Frazier's testimony stretched into

       August 21, 2009.4

                   After Frazier's testimony, defense counsel made an offer

       of proof as to an additional witness.        Defense counsel offered the

       testimony of Richard Williams, an individual he had "direct[ed] to

       . . . provide security for [Frazier]" after Frazier expressed

       "safety concerns" arising out of her role as a witness.               The court

       did   not   allow   Williams's    testimony,    concluding     that    Frazier

       "didn't express any concern for [her safety]" in her testimony,

       making Williams's testimony irrelevant.          The court then dismissed

       the jury for the weekend, with the defense formally leaving its

       case open over the weekend in the hope that the federal government

       would respond to its request for records related to Frazier's

       confidential informant status before the trial resumed on Monday

       morning.

                   By the morning of Monday, August 24, 2009, those records

       as to Frazier had arrived.        Based on the content of those records,

       defense counsel made an offer of proof in an effort to call one of

       Frazier's handling officers to support her credibility.               The court

       rejected that offer of testimony and the defense rested.               Defense


             4   On August 21, 2009, the court also heard argument on
       defense counsel's motion for a mistrial. The defense argued that
       Frazier's   federal   agent   handlers   engaged   in   improper
       "intimidation" and sought to both discourage Frazier from
       testifying and to influence the substance of her testimony. The
       court denied this motion.


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       counsel moved for a required finding of not guilty, which motion

       the court denied.

                   Both sides gave closing statements that day, August 24,

       2009.     In his closing argument defense counsel argued that there

       were     "basically      two   witnesses    that     .   .   .   testif[ied]    to

       contradictory conclusions."          Defense counsel stated that Perez's

       mental illnesses "are difficult illnesses and they may impact his

       ability to see and conceptualize what was actually happening."

       Defense counsel contrasted Perez's identification testimony with

       Frazier's testimony, who "says she knew that it wasn't Phillip

       Ayala.     He had left.        She saw he was nowhere in the location at

       the time of the shooting."             For that reason, defense counsel

       argued, "this particular case . . . boil[ed] down to very basically

       a misidentification."

                   In    closing      statements      for     the   Commonwealth,     the

       prosecutor responded that "the detail [Perez] was able to recount

       to [the jury]" about the events of June 10, 2007, supported his

       identification of Ayala as the shooter. She argued, "[h]e's paying

       attention.        He's    alert.     He's      using     perhaps   his   military

       background.      He turns and he sees the person that he recognizes as

       [Ayala]."     She also argued that Frazier "didn't see the shooting

       . . . [b]ut her friend[,] . . . the person that she looked up to,

       . . . she said that he wasn't anywhere to be found."                Finally, she




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       acknowledged that "Perez has issues.             He told you as a result of

       military duty, he suffers from [PTSD]."

                     The jury convicted Ayala on all three counts on August

       24, 2009; he was sentenced to life without parole.               He sought state

       post-conviction relief.

             C.      Ayala's State New Trial Motion and Appeal to SJC

                     Ayala filed a motion for a new trial on February 10,

       2011.      Id. at 241.     Ayala's post-trial counsel received a complete

       set   of    Perez's   VA    Medical    Center    records    in   February    2014,

       including approximately 100 half-page "Progress Notes" recorded by

       Perez's therapists during his counseling sessions from April 17,

       2000, to July 24, 2009, which had been missing earlier at trial.5

       Ayala then amended his motion for a new trial.                As amended, Ayala

       argued that his trial counsel was ineffective for (1) failing to

       retain and call an expert witness on eyewitness identification,

       (2) failing to retain and call an expert witness on ballistics to

       testify about the characteristics of a muzzle flash, and (3)

       failing to notice the absence of Perez's psychological records.




             5   The February 2014 production, which included all of
       Ayala's medical records through February 8, 2014, totaled 513
       pages. Although the district court and Ayala refer to "[h]undreds
       of pages of psychological records" in that production, many of the
       records in the February 2014 production were related to treatment
       Perez received after Ayala's trial in August 2009, duplicative of
       the records that defense counsel received during trial, and/or
       irrelevant to Perez's mental health.


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                   In support of his argument that defense counsel was

       ineffective for failing to notice the missing records, Ayala

       submitted       Perez's    complete     medical       records    and   offered    an

       affidavit from a psychiatrist, Dr. Jose Hidalgo, whom he argued he

       could    have    offered   as   an    expert     if   counsel    had   noticed   and

       corrected the absence of the records.                  Dr. Hidalgo's affidavit

       stated his opinion that Perez's "mental and emotional conditions

       had the potential to and may have interfered with Mr. Perez's

       abilities to accurately perceive or recollect the events of June

       10, 2007" and that "[m]ind altering substances" like marijuana "in

       principle can reduce the ability to accurately perceive and recall

       past events."      (Emphasis added.)

                   [T]he motion judge, who was not the trial
                   judge, allowed an evidentiary hearing on trial
                   counsel's failure to retain and call experts
                   on eyewitness identification and ballistics.
                   The motion judge did not allow an evidentiary
                   hearing, however, on trial counsel's failure
                   to notice the absence of Perez's psychological
                   records that were subject to disclosure after
                   finding that the defendant had not raised a
                   substantial    issue   [on    that   argument]
                   warranting further hearing.

       Id. at 252.

                   Defense counsel testified at Ayala's evidentiary hearing

       that his "primary . . . strategy at [trial] was to prese[nt] the

       testimony of [Frazier] which . . .               posited that Mr. Ayala was not

       the shooter, that she saw the event from a place where she had a

       vantage point and that she named other individuals as the actual



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       shooters    involved."         He    testified     that   it     was    "a    fair

       representation" to say that he did "not pursu[e] obtaining the

       mental health records . . . because [he was] focus[]ed on other

       aspects of the case that [he] deemed essential and more important."

                  Defense counsel further testified that he "felt with

       Natasha Fra[z]ier's testimony and [his] cross-examination of Mr.

       Perez, that the case would be adequately put before the jury," and

       that he "believe[d] it was tactically the correct thing not to

       attack [Perez] as a veteran with PTSD."

                  The   new   trial     motion    judge   denied      the   motion    and

       summarized his findings as follows:

                  Ayala was represented at trial by Attorney
                  Greg Schubert, a criminal defense attorney
                  with over thirty-five years' experience in
                  defending allegations of first degree murder.
                  He has tried forty-seven first degree murder
                  cases. . . .      [Schubert's] primary trial
                  strategy was to secure the trial testimony of
                  [Frazier] who was the disc jockey at the
                  party. . . . Schubert believed that Frazier's
                  testimony, coupled with his cross-examination
                  of [Perez] regarding his mental state and the
                  inconsistencies in his statements to the
                  police, was sufficient to raise a reasonable
                  doubt regarding [Perez]'s identification of
                  Ayala as the shooter.

                  . . . .

                  [T]here was evidence that Perez was familiar
                  with Ayala from interacting with him earlier
                  in the evening. He had ample opportunity to
                  view Ayala prior to the shooting in a non-
                  stressful environment.   Ayala walked within
                  inches of Perez twice when he ascended and
                  then descended the stairs which provided



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                  access to the party on the second floor. Perez
                  took note of Ayala's facial features as he
                  shouted threats when he was being thrown out
                  of the party. Perez saw Ayala a third time
                  when he observed him standing in the front
                  yard as he looked down from the balcony. In
                  addition,    other    witnesses    corroborated
                  [Perez]'s testimony that Ayala was the
                  individual who made a scene at the party,
                  threatening to return and "light this place
                  up."

                  . . . .

                  On cross-examination trial counsel emphasized
                  that Perez observed the shooter for only a
                  matter   of   seconds,  that   his   physical
                  description of the shooter was inconsistent,
                  and that he suffered from [PTSD]. Similarly,
                  trial      counsel     thoroughly      argued
                  misidentification in closing.

                  With respect to the eyewitness identification expert,

       the motion judge concluded that trial defense counsel's "decision

       to [challenge Perez's identification of Ayala] without an expert

       was not manifestly unreasonable when made and the absence of an

       expert did not deprive Ayala of an otherwise available substantial

       ground of defense."      The motion judge denied Ayala's new trial

       motion in full and did not specifically address Ayala's argument

       with respect to the missing records.6

                  Ayala's appeal of the denial of his new trial motion was

       combined with his merits appeal before the SJC.         Id. at 242.     Ayala


            6    The motion judge also concluded that, with respect to a
       ballistics expert, he "[could not] conclude that, but for counsel's
       failure [to secure an expert on muzzle flash], the outcome of the
       case would have been different."


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       challenged the merits of his conviction on two grounds.                   First, he

       argued that the evidence before the jury was insufficient to

       support a conviction because "Perez[] testi[fied] that he was able

       to identify [Ayala] as the shooter because the muzzle flash from

       the    gun   'illuminated'     [Ayala]'s       face   [and]    the   illuminating

       capacity of a muzzle flash is not within the ordinary, common

       experience of a reasonable juror . . . ."              Id. at 244-45.       The SJC

       rejected this argument because it found that "there was independent

       evidence that would permit a rational juror to reasonably infer

       that the crime scene was sufficiently illuminated at the time of

       the shooting to provide Perez with the opportunity to identify

       [Ayala]      as   the   shooter"   --    specifically,     a   police     officer's

       testimony that "the street lights near the location of the shooting

       and the exterior lights on a nearby building were illuminated when

       he arrived at the crime scene at approximately 4:30 A.M."                    Id. at

       245.

                     Second, as the SJC described it, Ayala argued that

                     his due process rights under the Fifth and
                     Sixth   Amendments   to  the   United   States
                     Constitution and art. 12 of the Massachusetts
                     Declaration of Rights were violated by (i) the
                     Commonwealth's failure to obtain and turn over
                     discovery   related   to  the   sole   defense
                     witness's status as a confidential informant,
                     and (ii) the judge's decisions declining to
                     compel   various   State   and   Federal   law
                     enforcement officers to testify to the defense
                     witness's status as a confidential informant.




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       Id. at 246.         The SJC rejected this argument because it concluded

       that       "[t]he   information     related     to    [Frazier]'s      status     as   a

       confidential informant was not in the Commonwealth's possession or

       control, but rather was in the possession and control of the

       Federal government."        Id. at 248.       It also concluded that although

       "under       certain    circumstances     [the         SJC]    will     require    the

       Commonwealth to bear the burden of securing the cooperation of the

       Federal government with regard to the disclosure of exculpatory

       information[,] . . . [a]fter weighing [the applicable] factors, .

       . . the Commonwealth was not required to bear the burden of

       securing the release of the information" in this case.                          Id. at

       248, 252.

                      The SJC then described Ayala's arguments that

                      the motion judge erred in denying his motion
                      [for a new trial] with respect to his
                      arguments   that   his   trial   counsel   was
                      ineffective for (i) failing to retain and call
                      an expert witness on        the accuracy of
                      eyewitness identifications, (ii) failing to
                      retain and call an expert witness on
                      ballistics evidence to testify about muzzle
                      flashes, and (iii) failing to notice the
                      absence of medical records that provided
                      further insight into Perez's mental health
                      issues and drug use.

       Id. at 252.7           The SJC concluded that the failure to call an

       eyewitness identification expert was not "manifestly unreasonable



              7  The SJC considered Ayala's ineffective assistance claim
       under Massachusetts's state law standard specific to ineffective
       assistance claims arising out of certain types of criminal


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       when it was made" and that the failure to call a ballistics expert

       "was not likely to have influenced the jury's conclusion."             Id. at

       253, 255.

                   With respect to the missing records, the SJC found that

                   Perez testified that he had been diagnosed
                   with PTSD and bipolar disorder, that he
                   received counselling and medication to treat
                   the diagnoses, and that he had had a
                   counselling session on the day after the
                   murder.   He further testified that over the
                   period of approximately eight years following
                   his discharge from the military, he had sought
                   counselling for his PTSD 161 times and that he
                   suffered    from   "night    terror[s]"    and
                   sleeplessness as a result of his PTSD. [FN
                   21] Additionally, he testified that he used
                   marijuana to cope with the effects of his PTSD
                   diagnosis.

                        [FN 21] At the evidentiary hearing on the
                        defendant's motion for a new trial, trial
                        counsel testified that, at the time of
                        the trial, he believed it would have been
                        a poor tactical choice to "attack" Perez
                        in front of the jury, given that Perez
                        was a veteran suffering from [PTSD].
                        Therefore, it is unlikely that trial
                        counsel would have used the information

       convictions, including those for first-degree murder, not the
       federal standard set forth in Strickland v. Washington, 466 U.S.
       668 (1984). See Ayala, 112 N.E.3d at 252-53 ("[W]e apply the more
       favorable standard of G.L. c. 278, § 33E and review [Ayala's] claim
       to determine whether there was a substantial likelihood of a
       miscarriage of justice. Under this review, we first ask whether
       defense counsel committed an error in the course of the trial. If
       there was an error, we ask whether it was likely to have influenced
       the jury's conclusion." (citations omitted)). We have recognized
       that this standard is "at least as generous to the defendant as
       [the Strickland standard]." Horton v. Allen, 370 F.3d 75, 86 (1st
       Cir. 2004).    We consider the SJC's conclusion under this more
       generous standard to incorporate the conclusion that Ayala had
       failed to demonstrate prejudice under Strickland.


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                        in the missing records to further attack
                        Perez's ability to perceive the shooter
                        due to his PTSD diagnosis even if counsel
                        had them.

                  Notably, there was no evidence -- either
                  introduced at trial or contained within the
                  missing records -- that suggests that Perez's
                  mental health struggles or drug use affected
                  his ability to perceive the defendant on the
                  morning of the shooting.      For example, a
                  defense expert's proffered testimony only
                  acknowledged that Perez's mental health
                  struggles "had the potential to and may have
                  interfered with Mr. Perez's abilities to
                  accurately    perceive   or   recollect    the
                  [shooting]." Trial counsel argued this point
                  specifically during closing, stating that
                  Perez's diagnoses "are difficult illnesses and
                  they may impact his ability to see and
                  conceptualize what was actually happening."
                  Additionally, although the missing records
                  suggested that Perez was more dependent on
                  marijuana than his testimony let on, there was
                  no evidence that he was under the influence of
                  marijuana on the morning of the shooting. The
                  defendant's proffered expert on this point
                  would not have materially added to the
                  defense, as he was prepared only to testify
                  that individuals have a reduced ability to
                  accurately perceive reality and recall past
                  events while under the influence of mind-
                  altering substances. Because the substance of
                  the missing records and proffered expert
                  testimony was already presented to the jury,
                  any error on the part of trial counsel in
                  failing to notice the missing records was not
                  likely to influence the jury's conclusion.
                  The motion judge therefore did not err in
                  denying the defendant's motion for a new
                  trial.

       Id. at 255-56 (citations omitted and emphasis added).                 The SJC

       affirmed Ayala's convictions and the denial of his motion for a

       new   trial,   rejecting   Ayala's   claim    that   defense     counsel   was



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       constitutionally      ineffective        for    not   obtaining     the    actual

       treatment session notes of the doctors' sessions with Perez from

       April 2000 to July 2009.          Id. at 257.

            D.     Ayala's Petition for Federal Habeas Corpus

                   The appeal before us arises out of the grant by the

       district court of Ayala's petition for federal habeas relief on

       the ineffective assistance of counsel claim rejected by the SJC.

       Ayala filed a petition for a writ of habeas corpus in the United

       States District Court for the District of Massachusetts on April

       21, 2020, which he amended with the court's permission on September

       2, 2020.    Medeiros, 638 F. Supp. 3d at 66.           His petition set forth

       three broad arguments for federal habeas relief: that the SJC's

       decisions on (1) his insufficiency of the evidence argument, (2)

       his due process argument, and (3) his ineffective assistance of

       counsel arguments were each contrary to, and an unreasonable

       application     of,   the   law    and   also    based   on   an   unreasonable

       determination of the facts.           Ayala identified three elements of

       his counsel's performance that, in his view, it was unreasonable

       for the SJC to conclude were not deficient: counsel's failure to

       (1) "retain an expert on eyewitness identification," (2) "retain

       a firearms expert," and (3) "notice that he had not received

       [Perez's] psychological records."

                   The district court issued a writ of habeas corpus based

       on Ayala's argument that his counsel was ineffective for failing


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       to notice that Perez's records were incomplete.               Id. at 46.     The

       district court concluded that the SJC's decision that Ayala failed

       to show prejudice was both based on an unreasonable determination

       of the facts and amounted to an unreasonable application of the

       law.       Id. at 66.   First, the district court held that

                      [t]he SJC's finding that "it is unlikely that
                      trial counsel would have used the information
                      in the missing records to further attack
                      Perez's ability to perceive the shooter due to
                      his PTSD diagnosis even if counsel had them"
                      is fundamentally flawed and does not support
                      its factual finding as to the value of the
                      psychological records.

       Id. at 74.       Second, the district court held that

                      [t]he SJC's finding that "there was no
                      evidence . . . contained within the missing
                      records . . . that suggests that Perez's
                      mental health struggles . . . affected his
                      ability to perceive the defendant on the
                      morning of the shooting" is contradicted by a
                      wealth of evidence in the psychological
                      records and, in light of that evidence, is
                      patently unreasonable.

       Id. at 72 (omissions in original).             Finally, the district court

       held that

                      [t]he   state   court's    finding that   "the
                      substance of the missing records and proffered
                      expert testimony was already presented to the
                      jury" and "the additional records would not
                      have added to the information already at trial
                      counsel's   disposal    and   used in   cross-
                      examination" is also unreasonable . . . .

       Id.8


              8  Because we conclude that the district court erred in its
       federal habeas review of the SJC's prejudice determination under


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                    This timely appeal followed.

       II.    Standard of Review

                    Strickland's test for ineffective assistance interacts

       with AEDPA's limitations on federal habeas review of state court

       decisions to create a "doubly deferential" lens through which both

       we and the district court must view the state court's decision.

       See Burt, 571 U.S. at 15.

                    This court is "effectively in the same position as the

       district court vis-à-vis the state court record and ha[s] the

       ability to review that record from the same vantage point" and

       thus reviews the district court's decision de novo.                          Pike v.

       Guarino, 492 F.3d 61, 68 (1st Cir. 2007).                    Here, although the

       district court determined that "extensive supplementation [of the

       SJC's recitation of the facts was] necessary," Medeiros, 638

       F. Supp. 3d at 46, its supplementary facts were drawn entirely

       from the record before the state court, not from independent

       factfinding such as an evidentiary hearing. We review its decision

       de    novo   and   give   its   reading      of   the   state   court      record   no

       deference.

                    AEDPA "demands that a federal habeas court measure a

       state    court's    decision     on    the    merits     against    a      series   of

       'peculiarly deferential standards.'"                Porter v. Coyne-Fague, 35


       Strickland and AEDPA, and that resolves this case, we do not
       consider other aspects of its decision.


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       F.4th 68, 74 (1st Cir. 2022) (quoting Cronin v. Comm'r of Prob.,

       783    F.3d   47,   50     (1st   Cir.    2015)).       Specifically,        28    U.S.C.

       § 2254(d) provides that "a writ of habeas corpus . . . shall not

       be granted . . . unless" the state court decision either

                     (1) resulted in a decision that was contrary
                     to, or involved an unreasonable application
                     of, clearly established Federal law, as
                     determined by the Supreme Court of the United
                     States; or (2) resulted in a decision that was
                     based on an unreasonable determination of the
                     facts in light of the evidence presented in
                     the State court proceeding.

       (Emphasis added.); see also Field, 37 F.4th at 16-17 (discussing

       this provision).

                     Subsection (d)(1) further divides into two clauses that

       address the state court's legal analysis.                      Subsection (d)(1)'s

       "'contrary to' clause applies when 'the state court arrives at a

       conclusion opposite to that reached by [the Supreme] Court on a

       question of law or if the state court decides a case differently

       than     [the     Supreme]        Court    has     on    a     set   of      materially

       indistinguishable facts.'"           Porter, 35 F.4th at 74 (alterations in

       original)       (quoting    Williams      v.   Taylor,       529   U.S.   362,     412-13

       (2000)).        The district court did not evaluate Ayala's habeas

       petition under this "contrary to" prong, nor does Ayala defend the

       writ on these "contrary to" grounds.

                     Subsection (d)(1)'s "unreasonable application" clause

       "applies when 'the state court identifies the correct governing




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       legal      principle     from    [the     Supreme]        Court's          decisions   but

       unreasonably      applies       that     principle        to    the     facts     of   the

       [petitioner]'s      case.'"        Id.     (first     alteration            in   original)

       (quoting     Williams,     529    U.S.    at      413).        "[T]he       'unreasonable

       application' clause applies 'if, and only if, it is so obvious

       that a clearly established rule applies to a given set of facts

       that there could be no "fairminded disagreement" on the question.'"

       Id. at 75 (quoting White, 572 U.S. at 427).                     "[T]he more general

       the rule, the more leeway courts have in reaching outcomes in case-

       by-case determinations."           Id. (internal quotation marks omitted)

       (quoting Yarborough v. Alvarado, 541 U.S. 652, 664 (2004)).

                    Relief under subsection (d)(2) requires "a showing that

       the      state   court    decision       'was      based       on     an     unreasonable

       determination of the facts' on the record before that court."                          Id.

       (quoting 28 U.S.C. § 2254(d)(2)).               "This demanding showing cannot

       be made when '"[r]easonable minds reviewing the record might

       disagree" about the finding in question.'"                          Id. (alteration in

       original) (quoting Brumfield v. Cain, 576 U.S. 305, 314 (2015)).

       And   "a    state-court    factual       determination         is     not    unreasonable

       merely because the federal habeas court would have reached a

       different conclusion in the first instance."                        Wood v. Allen, 558

       U.S. 290, 301 (2010).9


             9   AEDPA further provides that "a determination of a
       factual issue made by a State court shall be presumed to be correct


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              A.   Ineffective Assistance of Counsel Standard Under
              Strickland Even Before Applying Deference to State Court

                   To   succeed    on    an     underlying     Strickland        claim     of

       ineffective assistance of counsel in either state or federal court,

       Ayala    "must   show   both     deficient      performance    by   counsel       and

       resulting prejudice."          Thompson v. United States, 64 F.4th 412,

       421 (1st Cir. 2023) (internal quotation marks omitted) (quoting

       Tevlin v. Spencer, 621 F.3d 59, 66 (1st Cir. 2010)); see also

       Strickland, 466 U.S. at 687.

                   To    establish       deficient       performance,       Ayala        must

       "establish     that   his   'counsel's     representation        fell     below    an

       objective standard of reasonableness.'"             Thompson, 64 F.4th at 421

       (internal quotation marks omitted) (quoting Tevlin, 621 F.3d at

       66).     "A court considering a claim of ineffective assistance must

       apply a 'strong presumption' that counsel's representation was

       within the 'wide range' of reasonable professional assistance."

       Harrington v. Richter, 562 U.S. 86, 104 (2011) (quoting Strickland,

       466 U.S. at 689).

                   To show prejudice, Ayala "must demonstrate a reasonable

       probability that, but for counsel's unprofessional errors, the



       [unless] rebutt[ed] . . . by clear and convincing evidence." 28
       U.S.C. § 2254(e)(1). "The Supreme Court has carefully left . . .
       open" the question of how subsections (d)(2) and (e)(1) fit
       together, and "the question remains open in this circuit" as well.
       Porter, 35 F.4th at 79. As we explain below, we need not resolve
       the question to decide this case.


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       result of the proceeding would have been different.            A reasonable

       probability is a probability sufficient to undermine confidence in

       the outcome."     Id. (internal quotation marks omitted) (quoting

       Strickland, 466 U.S. at 694).        "[S]how[ing] that the errors had

       some conceivable effect on the outcome of the proceeding" is

       insufficient; instead, Ayala must establish that the errors were

       "so serious as to [have] deprive[d] [him] of a fair trial, a trial

       whose result is reliable."       Id. (quoting Strickland, 466 U.S. at

       687, 693).    "And if it turns out that the investigation would not

       have led to any information that counsel would have used at trial,

       then his dereliction can hardly have caused prejudice."              Lang v.

       DeMoura, 15 F.4th 63, 69 (1st Cir. 2021).

            B.   Deferential Review Under AEDPA of Ineffective Assistance
            Claim

                  "Since an ineffective assistance of counsel claim is a

       mixed question of law and fact, [on habeas review] it is evaluated

       under the 'unreasonable application' clause of § 2254(d)."            Ficco,

       556 F.3d at 70 (citations omitted).          "'Surmounting Strickland's

       high bar is never an easy task,' . . . [and] [e]stablishing that

       a state court's application of Strickland was unreasonable under

       § 2254(d) is all the more difficult."       Harrington, 562 U.S. at 105

       (quoting Padilla v. Kentucky, 559 U.S. 356, 371 (2010)).                 "The

       standards created by Strickland and § 2254(d) are both 'highly

       deferential,' and when the two apply in tandem, review is 'doubly'




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       so."     Id. (citations omitted) (first quoting both Strickland, 466

       U.S. at 689, and Lindh v. Murphy, 521 U.S. 320, 333 n.7 (1997);

       and then quoting Knowles v. Mirzayance, 556 U.S. 111, 123 (2009)).

                     To satisfy the prejudice requirement under Strickland on

       a habeas petition governed by AEDPA, Ayala must show not just that

       "it is 'reasonably likely' the result would have been different,"

       id. at 111 (quoting Strickland, 466 U.S. at 696), but also that it

       was unreasonable for the state court to conclude otherwise, cf.

       id. at 112; see also Smith v. Thompson, 329 Fed. App'x 291, 294

       (1st Cir. 2009) ("[B]ecause this case reaches us on habeas review,

       we . . . evaluate . . . only whether the Appeals Court reached an

       unreasonable conclusion on the prejudice question."). We may grant

       habeas relief "if, and only if, . . . there could be no fairminded

       disagreement on the question."            Porter, 35 F.4th at 75 (internal

       quotation marks omitted) (quoting White, 572 U.S. at 427).

       III. Application of These Standards to SJC Decision

                     The district court held three of the SJC's factual

       findings regarding prejudice were unreasonable under subsection

       (d)(2).10       First,   the   district    court   determined    "[t]he    SJC's

       finding that 'it is unlikely that trial counsel would have used

       the information in the missing records to further attack Perez's


              10 The district court expressly declared two of the SJC's
       factual findings unreasonable.      It called a third finding
       "fundamentally flawed", which we take to mean the district court
       considered the finding to fail under 28 U.S.C. § 2254(d)(2).


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       ability to perceive the shooter due to his PTSD diagnosis even if

       he had them' [was] fundamentally flawed . . . ."               Medeiros, 638

       F. Supp. 3d at 74.

                   Second,   the   district    court   held    that   "[t]he    SJC's

       finding that 'there was no evidence . . . contained within the

       missing records . . . that suggests that Perez's mental health

       struggles . . . affected his ability to perceive the defendant on

       the morning of the shooting' . . . [was] patently unreasonable."

       Id. at 72 (first three omissions in original) (quoting Ayala, 112

       N.E.3d at 256).

                   Third, the district court held that "[t]he state court's

       finding that 'the substance of the missing records and proffered

       expert testimony was already presented to the jury' and 'the

       additional records would not have added to the information already

       at trial counsel's disposal and used in cross-examination' [was]

       also unreasonable . . . ."        Id.

                   Relying in large part on its conclusion that the SJC

       made what in its view were unreasonable factual determinations,

       the district court separately held that the SJC's decision was an

       unreasonable application of the law under subsection (d)(1).11             Id.


            11   The district court separately discussed distinct
       rationales for granting relief under subsections (d)(1) and
       (d)(2).   As discussed above, Ayala's ineffective assistance of
       counsel claim is a "mixed question of law and fact" which we
       "evaluate[] under the 'unreasonable application' clause of §
       2254(d)." Ficco, 556 F.3d at 70. To the extent the reasonableness


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       at 75-77.    We hold that (1) Ayala has not met his burden to show

       the SJC's factual determinations were unreasonable, no matter

       which standard applies, and (2) the SJC's decision was not an

       unreasonable application of the law.

            A.   The District Court Erred in Concluding That the SJC's
            Holding That Defense Counsel Would Not Have Used the
            Information in the Missing Records Was Unreasonable

                   The district court called "[t]he SJC's finding that 'it

       is unlikely that trial counsel would have used the information in

       the missing records to further attack Perez's ability to perceive

       the shooter due to his PTSD diagnosis even if he had them' . . .

       fundamentally flawed."     Id. at 74.       The district court and Ayala

       on appeal argue that this finding by the SJC was unreasonable

       because trial counsel "could have used [these records] to explore

       the effect of Mr. Perez's PTSD symptoms on his percipient abilities

       and opened a fruitful area for expert testimony . . . ."              Id.

                   Our careful review of the state trial records supports

       the SJC's conclusion and certainly precludes any finding the

       conclusion was unreasonable.       First, Natasha Frazier's testimony

       and credibility -- not Perez's mental health and drug use -- was

       defense counsel's "primary trial strategy."          Trial defense counsel

       testified that it was "a fair representation" to say that he did


       of the SJC's factual determinations bears on the reasonableness of
       its application of the law, we incorporate review of those
       determinations in our analysis under the unreasonable application
       clause as discussed below.


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       "not pursu[e] obtaining the mental health records . . . because

       [he was] focused on other aspects of the case that [he] deemed

       essential and more important."              These choices were a reasonable

       trial strategy consistent with defense counsel's strategy that it

       was "tactically the correct thing not to attack [Perez] as a

       veteran with PTSD."

                   Furthermore, Ayala's trial counsel did not gloss over

       Perez's mental health struggles.                 In his cross-examination of

       Perez, Ayala's trial counsel established that Perez "went from

       unscheduled [as-needed counseling] appointments to [regularly]

       scheduled [counseling] appointments" after the shooting,                         "was

       hospitalized" for his mental health in the fall of 2007, "start[ed]

       taking . . . [prescription] drugs" to treat his mental health

       conditions       "[a]fter     October    of      2007",    was    "diagnosed     with

       borderline personality disorder and also bipolar disorder, mild

       manic after 2007," and "had a counseling session on June 11th" of

       2007, the day after the shooting.

                   As    the   SJC    found,    counsel       established     these    facts

       through questioning while also pursuing his general strategy of

       avoiding attacking Perez on account of his PTSD. It was reasonable

       for the SJC to conclude that this strategy would be undercut were

       defense    counsel      to   probe   into     the    individual      sessions    with




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       providers.     That strategy was reasonable12 and defense counsel's

       questioning was consistent with it.          Even if it were accurate that

       defense    counsel   "could   have    used    [these    individual     session

       records] to explore the effect of Mr. Perez's PTSD symptoms on his

       percipient abilities," id. at 74, that possibility is far from

       enough to make unreasonable the SJC's conclusion that defense

       counsel likely would not have done so.

                   It was not unreasonable for the SJC to conclude the

       absence of missing information that would not have been used at

       trial cannot have been prejudicial to Ayala.            See, e.g., Lang, 15

       F.4th at 69.     Here, "fairminded" jurists and "reasonable minds" at

       best could disagree as to whether defense counsel would have used

       the records.     Cf. Porter, 35 F.4th at 75 (first quoting White, 572

       U.S. at 427 and then quoting Brumfield, 576 U.S. at 314).              In such

       a circumstance, we cannot conclude that the SJC's application of

       the law was unreasonable under 28 U.S.C. § 2254(d)(1) nor can we

       say that the SJC's factual determinations were unreasonable under

       28 U.S.C. § 2254(d)(2).       For the same reason, Ayala has not shown

       the factual determinations to be erroneous "by clear and convincing




            12   As part of their analysis of the deficiency of defense
       counsel's performance, the district court and Ayala on appeal argue
       that defense counsel's failure to pursue the missing records during
       trial was not and could not be consistent with a strategic choice.
       Medeiros, 538 F. Supp. 3d at 69-71. That argument fails for the
       reasons stated above.


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       evidence."     28 U.S.C. § 2254(e)(1).        AEDPA forbids the grant of

       habeas relief.

             B.   The District Court Erred in Finding Unreasonable the
             SJC's Conclusions that There Was No Evidence that Suggested
             Perez's PTSD or Drug Use Affected his Ability to Perceive the
             Defendant the Morning of the Shooting

                  The district court held that "[t]he SJC's finding that

       'there was no evidence . . . contained within the missing records

       . . . that suggests that Perez's mental health struggles . . .

       affected his ability to perceive the defendant on the morning of

       the shooting' . . . [was] patently unreasonable."              Medeiros, 638

       F. Supp. 3d at 72 (first three omissions in original) (quoting

       Ayala, 112 N.E.3d at 256).         According to the district court and

       Ayala on appeal, "[c]ounseling notes [in the missing records]

       describe   how   certain   stimuli       present    on   the   night   of   Mr.

       Ramkissoon's shooting were either triggers for or associated with

       Mr. Perez's PTSD symptoms . . . ."          Id.     They argue that the SJC

       could not reasonably conclude there was no "suggest[ion]" in the

       records that Perez's mental health interfered with his ability to

       identify Ayala as the shooter.       Id.     We disagree.

                  The district court erred by focusing on the SJC's use of

       the   single   word   "suggests"    in    this     sentence.     Our   "highly

       deferential standard for evaluating state court rulings" requires

       that we read the SJC's opinion in such a way as to give its choice

       of language "the benefit of the doubt."              Woodford v. Visciotti,




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       537 U.S. 19, 24 (2002); see also Bell v. Cone, 543 U.S. 447, 455

       (2005) (per curiam) (applying this logic and reviewing the full

       context of a Tennessee Supreme Court decision to determine that

       the   state     court   implicitly    addressed    an   issue    despite    not

       explicitly saying it was doing so).             We thus must examine the

       context in which the SJC used the word to determine what the SJC

       meant.    The SJC's use of the word "suggests" that the district

       court found unreasonable appeared as part of the topic sentence of

       a paragraph in the SJC's opinion which reads, in full:

                     Notably, there was no evidence -- either
                     introduced at trial or contained within the
                     missing records -- that suggests that Perez's
                     mental health struggles or drug use affected
                     his ability to perceive the defendant on the
                     morning of the shooting.      For example, a
                     defense expert's proffered testimony only
                     acknowledged that Perez's mental health
                     struggles "had the potential to and may have
                     interfered with Mr. Perez's abilities to
                     accurately    perceive   or   recollect    the
                     [shooting]." Trial counsel argued this point
                     specifically during closing, stating that
                     Perez's diagnoses "are difficult illnesses and
                     they may impact his ability to see and
                     conceptualize what was actually happening."
                     Additionally, although the missing records
                     suggest that Perez was more dependent on
                     marijuana than his testimony let on, there was
                     no evidence that he was under the influence of
                     marijuana on the morning of the shooting. The
                     defendant's proffered expert on this point
                     would not have materially added to the
                     defense, as he was prepared only to testify
                     that individuals have a reduced ability to
                     accurately perceive reality and recall past
                     events while under the influence of mind-
                     altering substances. Because the substance of
                     the missing records and proffered expert


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                   testimony was already presented to the jury,
                   any error on the part of trial counsel in
                   failing to notice the missing records was not
                   likely to influence the jury's conclusion.
                   The motion judge therefore did not err in
                   denying the defendant's motion for a new
                   trial.

       Ayala, 112 N.E.3d at 256 (citations omitted).

                   Read in that context, it is clear the SJC used the phrase

       "no evidence . . . suggests" to mean "no evidence necessarily

       suggests."     The district court's different reading would directly

       contradict the SJC's statement in the very next sentence that the

       defense's proffered expert would testify "that Perez's mental

       health struggles 'had the potential to and may have interfered

       with Mr. Perez's abilities to accurately perceive or recollect the

       [shooting].'"     Id.   This paragraph of the SJC's opinion read as a

       whole in fact concludes that no evidence in the records established

       with the necessary certainty that Perez's mental health struggles

       interfered with his ability to identify Ayala as the shooter. Even

       Dr. Hidalgo, whose affidavit was submitted in support of Ayala's

       new trial motion after he reviewed the missing records, merely

       stated no more than that Perez's conditions "had the potential to

       and may have interfered with Mr. Perez's abilities to accurately

       perceive or recollect the events of June 10, 2007."                   (Emphasis

       added.)     As to Perez's marijuana usage, Dr. Hidalgo stated only

       that "mind altering substances" like marijuana "in principle can

       reduce the ability to accurately perceive and recall past events."


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       (Emphasis added.)       And defense counsel himself, during closing

       statements, repeatedly stressed that Perez's identification of

       Ayala as the shooter may have been mistaken.

                   Nothing in the missing records makes this conclusion by

       the SJC unreasonable.        Ayala focuses on the missing records of

       Perez's counseling sessions after the shooting.                     Those missing

       records contain approximately ten entries after the shooting but

       before Ayala's trial in which counselors record Perez stating

       various    versions    of   the    fact    that    mouth    injuries       sometimes

       "triggered" Perez's PTSD and that seeing the victim's "shattered"

       teeth and "bloody mouth" as well as "attempt[ing] to provide mouth

       to mouth to [the murder victim] . . . retriggered" his PTSD at

       some point after the shooting, causing him to "flashback[]." These

       records undoubtedly show that Perez suffered from PTSD at some

       point    after   the   shooting.          Crucially,      they   do    not    render

       unreasonable the SJC's determination that there was no evidence

       that Perez was necessarily suffering from PTSD at the time of the

       shooting or at the time he identified the shooter.

                   Even if Perez's observation of Ramkissoon's injuries and

       attempt to provide mouth to mouth immediately retriggered Perez's

       PTSD, those potential triggers occurred after -- not while -- Perez

       observed the shooter.             Perez's recollection was, as the SJC

       observed, "substantially corroborated at trial by the testimony of

       the first-floor bouncer."          Id. at 243 n.4.


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                  The district court omitted the phrase "or drug use" in

       declaring this conclusion by the SJC unreasonable.                See Medeiros,

       638 F. Supp. 3d at 72.           On appeal Ayala argues that the SJC's

       determination that there was "no evidence . . . that Perez's . . .

       drug use affected his ability to perceive Ayala on the morning of

       the shooting," Ayala, 112 N.E.3d at 256 (emphasis added), was

       unreasonable because "Dr. Hidalgo stated that Perez’s long history

       of heavy marijuana use reduced his 'ability to accurately perceive

       and   recall   past   events     .   .   .   .'"    This    is   an      inaccurate

       characterization      of   Dr.   Hidalgo's      proffered    testimony.         The

       paragraph of Dr. Hidalgo's affidavit that Ayala quotes in his brief

       reads, in full, as follows:

                  Mr. Perez has a long history of heavy
                  marijuana use and there is no indication that
                  at the time of the incident on June 10, 2007[,]
                  he had reduced his marijuana use.          Mind
                  altering substances in principle can reduce
                  the ability to accurately perceive reality and
                  recall past events. For example, I have had
                  patients who present to my clinic intoxicated
                  with marijuana and who may say rude and
                  inappropriate things at the time of their
                  visit. In subsequent visits, when sober, they
                  may not remember accurately the nature of
                  their past inappropriate behavior.

       (Emphasis added.)      In other words, as the SJC found,

                  [t]he defendant's proffered expert . . . was
                  prepared only to testify that individuals have
                  a reduced ability to accurately perceive
                  reality and recall past events while under the
                  influence of mind-altering substances.




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       Id.   The SJC reasoned that the missing records and this proffered

       testimony     did    not    necessarily   suggest    that     Perez's    drug   use

       interfered with his ability to identify Ayala as the shooter

       because

                    although the missing records suggested that
                    Perez was more dependent on marijuana than his
                    testimony let on, there was no evidence that
                    he was under the influence of marijuana on the
                    morning of the shooting.

       Id.      Nothing in the missing records makes this conclusion by the

       SJC unreasonable either.

                    At     the    least,   "fairminded"    jurists    and   "reasonable

       minds" could disagree, see Porter, 35 F.4th at 75, as to whether

       there was any evidence in the missing records "that suggests that

       Perez's mental health struggles or drug use affected his ability

       to perceive the defendant on the morning of the shooting," Ayala,

       112 N.E.3d at 256.          And so habeas relief is improper under AEDPA

       because the SJC's conclusion was not unreasonable under 28 U.S.C.

       § 2254(d)(1), nor were its factual determinations unreasonable

       under 28 U.S.C. § 2254(d)(2).           For the same reason, Ayala has not

       shown the factual determinations to be erroneous "by clear and

       convincing evidence."          28 U.S.C. § 2254(e)(1).      AEDPA makes habeas

       relief inappropriate.




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             C.   The District Court Erred in Finding Unreasonable the
             SJC's Conclusions that the Substance Contained in the Missing
             Records was Already Presented to the Jury

                   The     district     court     also     concluded      that    it    was

       unreasonable for the SJC to conclude that "'the substance of the

       missing    records    and     proffered    expert      testimony     was    already

       presented to the jury' and 'the additional records would not have

       added to the information already at trial counsel's disposal and

       used in cross-examination . . . .'"              Medeiros, 638 F. Supp. 3d at

       72.

                   The SJC reasonably determined that the key elements of

       Ayala's argument were presented to the jury.               Much of the evidence

       in the missing records is consistent with and cumulative of the

       evidence the jury heard at trial.               Cumulative evidence generally

       "offer[s] an insignificant benefit, if any at all" for purposes of

       a Strickland claim.          Wong v. Belmontes, 558 U.S. 15, 23 (2009).

       To the extent the missing records were cumulative of evidence heard

       at trial, the SJC's conclusion that the records' absence did not

       cause Ayala prejudice was not unreasonable.                Cf. United States v.

       Abdelaziz, 68 F.4th 1, 71 (1st Cir. 2023) (explaining, in context

       of harmless error review, that exclusion of evidence likely did

       not affect result because similar evidence was already before

       jury); Stephens v. Hall, 294 F.3d 210, 225-26 (1st Cir. 2002)

       (concluding that state court's decision that failure to offer

       impeachment       evidence     did   not   prejudice       defendant       was   not


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       objectively        unreasonable        where    the    evidence     arguably      "added

       nothing new").       The district court identified two ways in which it

       concluded the missing records contained information that was not

       otherwise available to the jury.                We address each in turn.

                    1.   Purported Discrepancies Between the Missing Records
                    and Perez's Testimony

                    The district court and Ayala on appeal argue that, on

       their     reading    of    the    record,       the   SJC's    conclusion        must   be

       unreasonable       because       the    counseling     session     notes       contradict

       Perez's testimony that at the time of the shooting "his PTSD was

       'under control'; that for him, '[i]t's just basically . . .

       remembering a bad time' and he 'had done the steps that [he] needed

       to do to get [him]self better' and the effect it had on him at the

       time of Mr. Ramkissoon's shooting was 'minimal.'"                       Medeiros, 638

       F. Supp. 3d at 73 (alterations and omissions in original).                           That

       the shooting itself may have triggered in its aftermath more

       intense PTSD does not necessarily contradict this testimony.

                    Beyond this, "where [as here] the relevant error is

       failure to impeach a government witness, we begin [the prejudice

       analysis] by assessing the strength of the prosecution's case, and

       the effectiveness of the defense absent the impeachment evidence."

       Malone v. Clarke, 536 F.3d 54, 64 (1st Cir. 2008) (internal

       quotation marks omitted) (quoting Stephens, 294 F.3d at 218). With

       that     context    in    mind,    we    must    "then    consider     the     potential




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       impeachment value of the evidence in undermining the credibility

       of   the    witness's   testimony."      Id.    (internal    quotation     marks

       omitted) (quoting Stephens, 294 F.3d at 218).

                    As to the strength of the prosecution's evidence, the

       SJC characterized that evidence as strong enough to support a

       conviction even without Perez's eyewitness testimony, and Ayala

       develops      no   argument   on   appeal      that   that    conclusion     was

       unreasonable:

                    The      Commonwealth      also      presented
                    circumstantial evidence linking the defendant
                    to the shooting. For example, prior to the
                    shooting, the defendant arrived at the party
                    and refused to be searched. He was visibly
                    upset that there was a party taking place at
                    the house, and after being kicked out, he
                    threatened to come back to the party and
                    "light the place up." Soon after, he returned
                    and kicked in the first-floor door with such
                    force that he left a footprint on the door.
                    Additionally, the defendant was seen pacing
                    around on the street in front of the house
                    just a few minutes before Perez and Ramkissoon
                    left the party and the shooting took place.
                    From this evidence, the jury could have
                    reasonably inferred that the defendant did not
                    want to be searched on the morning of June 10
                    because he was carrying a gun, that he was
                    still near the house when the shooting
                    occurred, and that his anger about the party
                    motivated him to shoot Ramkissoon as he
                    crossed the street. This evidence, when taken
                    together, "formed a mosaic of evidence such
                    that the jury could conclude, beyond a
                    reasonable doubt, that the defendant was the
                    shooter[.]"

       Ayala, 112 N.E.3d at 246 (cleaned up) (quoting Commonwealth v.

       Jones, 77 N.E.3d 278, 289 (Mass. 2017)).


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                   Nor does Ayala account for the strategic decision not to

       increase the jury's sympathy for a veteran with honorable service

       by dwelling too much on the particulars of Perez's after-the-event

       PTSD, nor for counsel's strategic decision to address Perez as an

       honest witness who made a mistake as to identification in the

       stress and shock of the event.        There is no difference between the

       effectiveness of the defense with or without the missing records if,

       as the SJC found, "it is unlikely that trial counsel would have used

       the information in the missing records to further attack Perez's

       ability to perceive the shooter due to his PTSD diagnosis even if

       counsel had them."     Id. at 255 n.21.

                   Further, reasonable minds could read the missing records

       as consistent with Perez's trial testimony.           See Porter, 35 F.4th

       at 75.     Beginning in mid-2003, Perez's treatment providers were

       often annotating Perez's counseling notes with "P.R.N.," a medical

       abbreviation for pro re nata which meant Perez's therapist expected

       to see him only as needed.        See PRN, Stedman's Medical Dictionary

       (2014).     On June 10, 2007, when Ramkissoon was killed, Perez had

       not requested a session with his therapist since February 2007,

       four months earlier, and had apparently not mentioned his PTSD

       symptoms in therapy since August 2005, almost two years earlier.




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       In fact, Perez screened negative for PTSD during a medical visit

       at the VA Medical Center on September 8, 2006.13

                    2.      Availability of Expert Testimony

                    The district court misread the record when it concluded

       the SJC was unreasonable to conclude that the substance of the

       proffered expert testimony was before the jury.                  According to the

       district court, "the SJC relied on trial counsel's closing argument

       as   an    adequate     substitute    for     expert     psychiatric       evidence."

       Medeiros, 638 F. Supp. 3d at 73.

                    To   the    contrary,    the   SJC    did    not    hold    that   trial

       counsel's closing argument was "an adequate substitute for expert

       psychiatric evidence."        Id.     Rather, the SJC recognized that the

       specific point that Ayala proffered an expert to make -- that

       Perez's mental health struggles "had the potential to and may have

       interfered with Mr. Perez's abilities to accurately perceive or

       recollect the [shooting]" -- was already before the jury and had

       been highlighted in trial counsel's closing argument.                      Ayala, 112

       N.E.3d at 256 (alteration in original).

                    Ayala    and   the    district     court    state    that     Ayala   was

       prejudiced because "[d]efense counsel could not effectively argue



             13  Because a reasonable person could read these records as
       supporting -- rather than calling into question -- Perez's
       testimony about his management of his mental health conditions,
       they also support the reasonableness of the SJC's finding that
       defense counsel likely would not have used them.


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       for expert psychological testimony . . . without the missing

       psychological records . . . ."          Medeiros, 638 F. Supp. 3d at 53.

       However, it is reasonable to conclude that the trial court would

       not have allowed his motion for funds for expert testimony even if

       he had possessed the full set of records at the time of trial.                 At

       trial, defense counsel sought to offer Dr. Ebert's opinion "that

       anyone who suffered from a bipolar situation that was manic in its

       nature, that was not on medication, would be adversely affected in

       their ability to either perceive or encounter and recounter events

       that would occur."         In addressing defense counsel's motion for

       funds to offer that expert testimony at trial, the court stated

       its      view     that   "the   psychiatrist,     without      being    totally

       speculative, [was not] going to be able to testify how [Perez]

       acted on that night when [the doctor] wasn't there . . . ."                  The

       court eventually denied that motion for funds because "there's no

       foundation laid that he was suffering from that disease on that

       day."

                       It is certainly possible, as the SJC must have concluded,

       that the missing records would not have changed the trial court's

       perspective on these issues at all.           This is particularly so given

       the SJC's finding that there was no evidence that Perez was

       necessarily suffering from PTSD at the time of the shooting or at

       the time he identified the shooter, meaning the SJC concluded that

       these records would not have laid the necessary foundation for


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       expert    testimony.      And     even   with   the    missing    records,    the

       psychiatrist's opinion about what happened on the night of the

       shooting would still have been "speculative," as the missing

       records do not change the fact that "[the doctor] wasn't there" on

       the night of the shooting, nor do they describe with certainty

       exactly when Perez's PTSD symptoms began. Even if it were possible

       that the missing records could have made the proposed expert

       testimony seem less speculative to the trial judge and offered

       defense counsel a stronger argument that there was a "foundation

       laid that he" was possibly suffering from PTSD on the day in

       question, that possibility is far from enough to justify habeas

       relief.    Even accounting for those possibilities, Ayala has shown,

       at most, that "fairminded" jurists and "reasonable minds" could

       disagree.     See Porter, 35 F.4th at 75.             And so habeas relief is

       improper under AEDPA.

                   The SJC also stated that the "defense expert's proffered

       testimony only acknowledged that Perez's mental health struggles

       'had the potential to and may have interfered with [his percipient

       abilities],'" Ayala, 112 N.E.3d at 256 (emphasis added), not that

       there was any certainty of interference.              That theme of potential

       interference was certainly before the jury.               Habeas relief under

       AEDPA is improper.      See Porter, 35 F.4th at 75.




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       IV.   Conclusion

                   Under    AEDPA    and     Strickland's      doubly      deferential

       standard, we conclude that the district court erred in granting

       relief.     We vacate and order that Ayala's petition for a writ of

       habeas corpus on his ineffective assistance of counsel claim for

       failure to notice the missing records be denied.




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